Case 4:18-cv-00247-ALM Document 60-5 Filed 07/19/18 Page 1 of 1 PageID #: 1221



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  JASON LEE VAN DYKE                      §
      Plaintiff                           §
                                          §
  v.                                      §          Case No. 4:18cv247
                                          §
  THOMAS CHRISTOPHER RETZLAFF §
  a/k/a Dean Anderson d/b/a BV Files, Via §
  View Files L.L.C., and ViaView Files    §
        Defendant                         §

                                   ORDER SETTING HEARING

       It is hereby ORDERED that Plaintiff's Motion for Preliminary Injunction in the above-

  captioned case is set for an oral hearing before this Court on the ______ day of

  __________________________, 2018 at ____________ o'clock ___.M. All parties and

  counsel are ordered to appear.

  SIGNED ON: ________________________, 2018

                                                            ____________________________
                                                            U.S. DISTRICT JUDGE




ORDER SETTING HEARING                                                                Page 1 of 1
